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 1   XAVIER BECERRA
     Attorney General of California
 2   MICHAEL L. NEWMAN
     Senior Assistant Attorney General
 3   CHRISTINE CHUANG
     Supervising Deputy Attorney General
 4   JAMES F. ZAHRADKA II (SBN 196822)
     VILMA PALMA-SOLANA
 5   SHUBHRA SHIVPURI
     Deputy Attorneys General
 6    1515 Clay Street, 20th Floor
      Oakland, CA 94612-0550
 7    Telephone: (510) 879-1247
      E-mail: James.Zahradka@doj.ca.gov
 8   Attorneys for the State of California

 9
                            IN THE UNITED STATES DISTRICT COURT
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                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
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     East Bay Sanctuary Covenant; Al Otro Lado;       Case No. 3:18-cv-06810-JST
13   Innovation Law Lab; and Central American
     Resource Center in Los Angeles,
14
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15                                                       STATES OF CALIFORNIA,
                     v.                                  WASHINGTON, MASSACHUSETTS,
16                                                       NEW YORK, CONNECTICUT, HAWAII,
                                                         ILLINOIS, MARYLAND, MINNESOTA,
     Donald J. Trump, President of the United
17                                                       NEW JERSEY, OREGON, VERMONT,
     States, in his official capacity; Matthew G.        AND THE DISTRICT OF COLUMBIA IN
     Whitaker, Acting Attorney General, in his
18                                                       SUPPORT OF PLAINTIFFS
     official capacity; U.S. Department of Justice;
     James McHenry, Director of the Executive
19                                                       Date:         December 19, 2018
     Office for Immigration Review, in his official      Time:         9:30 a.m.
     capacity; the Executive Office for Immigration Dept:
20                                                                     9
     Review; Kirstjen M. Nielsen, Secretary of           Judge:        Hon. Jon S. Tigar
     Homeland Security, in her official capacity;
21                                                       Trial Date:   None
     U.S. Department of Homeland Security; Lee           Action Filed: November  9, 2018
     Francis Cissna, Director of the U.S. Citizenship
22   and Immigration Services, in his official
     capacity; U.S. Citizenship and Immigration
23   Services; Kevin K. McAleenan, Commissioner
     of U.S. Customs and Border Protection, in his
24   official capacity; U.S. Customs and Border
     Protection; Ronald D. Vitiello, Acting Director
25   of Immigration and Customs Enforcement, in
     his official capacity; Immigration and Customs
26   Enforcement,
27                                      Defendants.
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 1                        INTRODUCTION AND STATEMENT OF INTEREST

 2           The States of California, Washington, Massachusetts, New York, Connecticut, Hawaii,

 3   Illinois, Maryland, Minnesota, New Jersey, Oregon, Vermont, and the District of Columbia (the

 4   States) respectfully submit this brief as amici curiae in support of plaintiffs’ motion for a

 5   preliminary injunction suspending the Interim Final Rule: Aliens Subject to a Bar on Entry under

 6   Certain Presidential Proclamations; Procedures for Protection Claims (the Rule), 83 Fed. Reg.

 7   55934. The States have strong interests in the issues raised by plaintiffs’ motion. The States invest

 8   significant resources to provide education, health care, and other services to immigrants residing

 9   within their borders, including asylum-seekers and asylees, in order to appropriately transition

10   them into life in our States. Further, the States have a strong interest in ensuring that their interests

11   and the interests of their residents are considered when important proposed agency actions are

12   proposed, and in ensuring that federal agencies refrain from rulemaking that violates the law and

13   Constitution.

14           The State of California has a particular interest in this matter. California’s Department of

15   Social Services (CDSS) funds three of the plaintiff organizations (East Bay Sanctuary Covenant

16   [EBSC], Al Otro Lado, and Central American Resource Center in Los Angeles [CARECEN-LA])

17   to provide services to asylum-seekers, among other immigrants. 1 The California Legislature first

18   included funds for immigration services in its 2015 budget, as part of its “One California”

19   Immigration Services Funding program, and has since expanded the scope of this program to

20   include removal defense services and broader forms of affirmative relief. 2 These funds are aimed

21   at increasing “access to immigration legal services and information about constitutional rights so

22   that immigrants in our state can protect themselves and their families.” 3 CDSS also provides

23
             1
              CDSS, Immigration Services Contractors, https://tinyurl.com/Cal-DSS-ISC. For fiscal
24   year 2017-18, CDSS provided over $41 million, including $697,350 to EBSC and $2,387,500 to
     CARECEN-LA. CDSS, Immigration Branch Immigration Services Funding Tentative Award
25   Announcement (Oct. 31, 2017), https://tinyurl.com/Cal-DSS-ISawards. Al Otro Lado is a
     subcontractor of grantee International Institute of LA, which received $752,900 in the last fiscal
26   year. Al Otro Lado’s portion of this funding is not immediately available.
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27   California: Immigration Services Funding, (July 28, 2017), https://tinyurl.com/OneCal-funding.
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 1   funding for organizations—including EBSC and CARECEN-LA 4—to assist undocumented

 2   unaccompanied minors, many of whom have asylum claims. 5

 3          As detailed below, the States support the issuance of a preliminary injunction to preserve the

 4   status quo and prevent widespread harm while the validity of the Rule is adjudicated.

 5                                              ARGUMENT
 6          One of the preliminary injunction factors is whether the “injunction is in the public

 7   interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); EBSC v. Trump, 2018 WL

 8   6053140, at *19–20 (N.D. Cal. Nov. 19, 2018). 6 The public interest strongly favors plaintiffs as

 9   evidenced, in part, by the significant harm that the States will suffer if the preliminary injunction

10   is not issued and because the Rule violates the APA and the Constitution.

11         A.    Defendants’ Policies Trap Asylum Seekers at the Border While Effectively
                 Refusing to Accept Their Applications.
12

13         Defendants’ Rule forcing asylum seekers to apply at ports of entry comes on top of existing

14   policies that have choked off the flow of migrants through these channels, creating a massive

15   backlog of people waiting to avail themselves of their right to claim asylum. The interplay of

16   these unsustainable, cruel, and ineffective policies has created an inhumane situation for those

17   affected.

18         Currently, over 6,000 Central American immigrants, including over 1,000 children, are

19   stranded outside ports of entry waiting for an opportunity to present their asylum claims to federal

20   immigration officials. 7 These migrants represent a fraction of U.S. Customs and Border

21          4
               CDSS, Unaccompanied Undocumented Minors Legal Services Funding Contractor
     Referral List (FY2017-18), https://tinyurl.com/ILS-contractors.
22           5
               CDSS, Immigration Services, supra note 2 (noting that CDSS provided almost $3
     million for these services in FY 2018-19).
23           6
               The public interest is particularly relevant in cases where the impact of an injunction
     reaches beyond the parties and carries a potential for public consequences. Stormans, Inc. v.
24   Selecky, 586 F.3d 1109, 1139 (9th Cir. 2009). Further, in cases like this, which affect many non-
     parties (including the States), courts consider the hardship to third parties as part of the public
25   interest analysis. See Golden Gate Rest. Ass’n v. City & Cty. of S.F., 512 F.3d 1112, 1126 (9th
     Cir. 2008); see also Ms. L. v. U.S. Immig. & Customs Enf’t, 310 F. Supp. 3d 1133, 1148 (S.D.
26   Cal. 2018) (considering hardship to third parties in case involving separation of minor immigrant
     children from parents) (citing Hernandez v. Sessions, 872 F.3d 976, 996 (9th Cir. 2017)).
27           7
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 1   Protection’s (CBP) monthly southwest border apprehensions; CBP reported 60,745 apprehensions

 2   at the southwest border in October 2018—50,975 between ports of entry and 9,770 at ports of

 3   entry. 8 Even if all the individuals currently waiting to be processed entered at once, this would

 4   constitute less than 10 percent of monthly apprehensions. CBP has dealt with far larger changes

 5   in migrant flows in the past; for example, in the 2017 fiscal year, apprehensions and inadmissible

 6   entries fluctuated between approximately 16,000 and 67,000 monthly. 9 Thus, their arrival hardly

 7   presents an overwhelming “invasion” as the Administration has claimed. 10

 8         More broadly, defendants’ claims that an unprecedented flood of migrants is causing a

 9   crisis are not supported by the facts. As CBP’s statistics show, apprehensions at the border in

10   recent months are squarely within the historic range, and indeed considerably lower than they

11   have been in prior years (especially 2014). 11 While October 2018 has been at the higher end of

12   the range, it is not even among the top three months. 12

13         As the federal government pushes asylum-seekers to ports of entry, it is simultaneously

14   making it difficult or impossible for them to actually apply for asylum. The Department of

15   Homeland Security (DHS) publicly acknowledges that it has been using a “metering” or “queue

16   management” policy, which amounts to a de facto denial of the ability to apply for asylum. 13 A

17   September 2018 report from the DHS Office of Inspector General (OIG) confirmed that “CBP

18   was regulating the flow of asylum-seekers at ports of entry through ‘metering’” since at least

19   2016. 14 OIG described the process: “When metering, CBP officers stand at the international line

20   out in the middle of the footbridges” and turn asylum-seekers away before they can cross onto

21          8
                 See Administrative Record (“AR”) at 447–48; CBP, Southwest Border Migration
     FY2019, https://tinyurl.com/CBP-app-2019.
22             9
                 AR at 350; CBP, Southwest Border Migration FY2017, https://tinyurl.com/CBP-
     FY2017.
23             10
                  See Donald J. Trump (@realDonaldTrump), Twitter (Nov. 18, 2018, 10:42 AM),
     https://tinyurl.com/invasion-tweet (“the U.S. is ill-prepared for this invasion, and will not stand
24   for it”).
               11
                  AR at 301, 347, 373.
25             12
                  Apprehensions FY 2019, supra note 8.
               13
                  Amnesty International, USA: “You Don’t Have Any Rights Here” (Oct. 2018),
26   https://tinyurl.com/Amnesy-rights; Fox News, Secretary Nielsen Talks Immigration, Relationship
     with Trump (May 15, 2018), https://tinyurl.com/Fox-Nielsen.
27             14
                  OIG, Special Review – Initial Observations Regarding Family Separation Issues Under
     the Zero Tolerance Policy (Sept. 27, 2018), https://tinyurl.com/OIG-separation.
28
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 1   U.S. soil, claiming that there is no space available. Id. at 6. CBP instructs officers to “inform

 2   individuals that the port is currently at capacity and that they will be permitted to enter once there

 3   is sufficient space and resources to process them.” Id. Legal representatives who accompanied

 4   asylum-seekers to ports of entry from 2017 to present have witnessed dozens of people being

 5   turned away repeatedly. A lawsuit filed in July 2017 alleges a number of illegal practices at the

 6   San Ysidro port of entry, including “falsely representing to individuals that asylum is no longer

 7   available in the United States, that asylum seekers need permission from the Mexican government

 8   to seek asylum, or that asylum seekers must apply at other locations.” 15 Some asylum-seekers

 9   were even “threatened and falsely told that if they did not abandon their effort to obtain asylum,

10   they would lose custody of their children.” Id. As a result of these actions, even before the most

11   recent group of migrants reached the border, the unofficial waiting list administered by asylum-

12   seekers contained 3,000 names, with a month-long projected wait time. 16 Knowing that the Rule

13   would substantially increase the number of asylum-seekers at the ports of entry, the federal

14   government continues these policies, and has made no apparent effort to increase the pace,

15   processing only 40-100 individuals a day at the San Ysidro port of entry. 17

16         B.    The Rule Will Exacerbate Inhumane Border Conditions and Cause
                 Additional Trauma to Already Vulnerable Migrants.
17

18         As the Administrative Record demonstrates, the Northern Triangle is one of the most

19   violent regions in the world, with conditions “akin to the conditions found in the deadliest armed

20   conflicts in the world today.” 18 Asylum-seekers from this region flee from extremely dangerous

21   circumstances, most commonly murders of family members, threats to life or limb, extortion, and

22
            15
                Center for Constitutional Rights, Al Otro Lado v. Kelly, https://tinyurl.com/AOL-Kelly
23   (discussing Al Otro Lado, Inc. v. Nielsen, No. 3:17cv2366 (S.D. Cal., filed July 12, 2017)).
             16
                Kinosian, supra note 7.
24           17
                Camila Domonoske, Fact Check: What’s Happening on the U.S.-Mexico Border?, NPR
     (Nov. 27, 2018), https://tinyurl.com/Domonoske.
25           18
                AR at 156–58, 162–63 (Medicins Sans Frontieres, Forced to Flee Central American’s
     Northern Triangle: A Neglected Humanitarian Crisis (May 2017) [documenting the reasons for
26   leaving home countries and noting that the violence suffered by people in Northern Triangle is
     comparable to those in war zones]); id. at 161 (noting that homicidal violence in this region has
27   led to significantly more civilian casualties than in any other countries, including countries with
     armed conflicts or war).
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 1   domestic violence. 19 Immigrants who flee this violence face additional threats during their

 2   journey north, as the Administrative Record also makes clear. Along the route through Mexico

 3   and to the United States, immigrants are injured and traumatized from physical violence,

 4   abduction, theft, extortion, torture, and rape, perpetrated by gangs and other criminal

 5   organizations, or even by Mexican security forces. AR at 156–57, 163–64. Unsurprisingly, these

 6   experiences have caused high rates of serious mental health issues, including anxiety, post-

 7   traumatic stress disorder and major depressive disorder. 20

 8          This trauma is only exacerbated by defendants’ policies, which force migrants to remain

 9   at the border while they await entry. Media reports have extensively documented the inhumane

10   conditions outside our ports of entry. The images and stories are grim, as thousands of

11   immigrants, many with young children, are forced to stay in a makeshift camp at a sports

12   complex, a shelter at an abandoned concert venue in one of the most dangerous parts of Tijuana,

13   and on plastic tarps in the streets waiting to be processed by CBP. 21 After multiple instances of

14   rain, the camp at the sports complex became a muddy pit where people lost their limited

15   belongings. 22 The unsanitary conditions “have raised concerns among aid workers and

16   humanitarian organizations that the migrants, packed into a space intended for half their number,

17   are susceptible to outbreaks of disease.” 23 Many have developed respiratory infections due to the

18   wet and cold weather, and health officials also reported multiple cases of lice and chicken pox. 24

19   Children languishing at the border are becoming ill and not attending school, and families are not

20   receiving basic health and social services that the States would otherwise provide, including

21
            19
               Allen Keller, et al., Pre-Migration Trauma Exposure and Mental Health Functioning
22   among Central American Migrants Arriving at the US Border, 12 PloS one e0168692 (Jan. 10,
     2017), https://tinyurl.com/Keller-Trauma.
23          20
               Id. at 168–69; Keller, supra note 19.
            21
               Catherine E. Shoichet and Leyla Santiago, The Tear Gas is Gone. But in This Shelter at
24   the Border, the Situation Is Getting Worse, CNN (Nov. 29, 2018), https://tinyurl.com/Shoichet;
     Kinosian, supra note 7.
25          22
               Kate Linthicum, Rain Turns Migrant Camp in Tijuana into a Miserable, Muddy Pit,
     L.A. Times (Nov. 29, 2018), https://tinyurl.com/Linthicum-LAT.
26          23
               Sarah Kinosian et al., Mexico Begins Moving Caravan Migrants to New Shelter but
     Faces Mistrust, Wash. Post (Nov. 30, 2018), https://tinyurl.com/Kinosian-shelter.
27          24
               Christine Murray, Ailing Central American Migrants in Dire Conditions Dig in at U.S.
     Border, Reuters (Nov. 28, 2018), https://tinyurl.com/Murray-Reuters.
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 1   mental health treatment. 25 Local authorities lack sufficient resources to help immigrants for

 2   prolonged periods and have called on humanitarian organizations for assistance. 26

 3         In addition to adverse physical conditions, vulnerable adults and children are exposed to

 4   greatly increased risks of crime and exploitation as they wait at the border. 27 And some LGBTQ

 5   immigrants face threats of harassment and violence. 28 See EBSC, 2018 WL 6053140, at *19

 6   (discussing “the extensive record evidence of the danger experienced by asylum seekers waiting

 7   to cross in compliance with the Rule” in context of public interest factor). The delay in processing

 8   asylum applications, expected to take months, will only exacerbate the harms these individuals

 9   face and increase the amount and intensity of social services the States will be required to provide

10   to them, as discussed below.

11         Finally, the harm from the Rule extends to residents of the States who suffer the anguish of

12   uncertainty as their asylum-seeking relatives are in limbo at the border. Many Central American

13   asylum-seekers have relatives across the country, including Los Angeles, Miami, New York, and

14   Washington. 29 These include the Los Angeles family members of a Honduran family with young

15   children 30 and a San Francisco mother, anxiously awaiting the fate of her 15-year-old son, who

16   was detained by Mexican authorities with other minors as they attempted to apply for asylum. 31

17

18
            25
                 Statement on Situation of Migrant Children at Mexico-U.S. Border, UNICEF (Nov. 28,
19   2018), https://tinyurl.com/UNICEF-border (noting “limited access to many of the essential
     services [children] need for their wellbeing, including nutrition, education, psychosocial support
20   and healthcare”).
              26
                 Leah McDonald, Mayor of Tijuana Said the $30,000-a-Day Funding to Assist with
21   Caravan of 6,000 Central American migrants Is About to Run Out, Daily Mail (Nov. 28, 2018),
     https://tinyurl.com/McDonald-DailyMail.
22            27
                 Josiah Heyman and Jeremy Slack, Blockading Asylum Seekers at Ports of Entry at the
     US-Mexico Border Puts Them at Increased Risk of Exploitation, Violence, and Death, Ctr. for
23   Migration Studies (June 25, 2018), https://tinyurl.com/Heyman-Slack.
              28
                 Sarah Kinosian and Joshua Partlow, LGBT Asylum Seekers Are First to Reach the U.S.
24   Border from the Caravan. Now They Wait., Wash. Post (Nov. 13, 2018),
     https://tinyurl.com/Kinosian-Partlow.
25            29
                 See, e.g., Molly Hennessy-Fiske, Why and How Are Asylum Seekers Entering the U.S.?,
     L.A. Times (Nov. 22, 2018), https://tinyurl.com/Hennessy-Fiske.
26            30
                 Elliot Spagat, More Caravan Migrants Arrive in Tijuana, Brace for Long Stay, Fox
     News (Nov. 15, 2018), https://tinyurl.com/Spagat-Fox.
27            31
                 Cristina Rendon, Salvadorian Woman Nervously Awaits Contact from Son Seeking
     Asylum at US-Mexico Border, Fox KTVU (Nov. 26, 2018), https://tinyurl.com/Rendon-KTVU.
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 1   These residents of the States are being harmed by the federal government’s actions, and the States

 2   have a significant interest in preventing this harm from continuing as this litigation proceeds.

 3         C.    The States will be harmed by the effects of the Rule.
 4         The States welcome thousands of potential asylees into their communities who have

 5   suffered the trauma discussed above every year, providing or funding a number of social services

 6   to help them realize their potential in their new country. The additional mental and physical

 7   health harms caused by defendants’ policies will make asylees’ needs for these services even

 8   more intense and challenging to meet, requiring the States to divert resources from other critically

 9   needed services.

10          The States signatory to this brief constitute seven of the top ten states of residence of

11   asylees, and have welcomed over 68 percent of the total asylees entering the United States. 32

12   Since 1990, an average of over 22,000 individuals have been granted asylum annually. 33

13   California in particular, as the border state that receives by far the most asylees, with almost 44

14   percent of the total, has much at stake in these proceedings. Id. 34 For example, almost 8,000

15   individuals with positive “credible fear” determinations, including children, initially resettled in

16   California in 2016. 35 In the 2017 fiscal year, almost 15,000 accompanied children (those arriving

17   with their families) received positive credible fear determinations and were released from federal

18   custody, many in California. 36 And in FY 2018, 4,655 unaccompanied immigrant children were

19   released from federal custody to adult sponsors in California, more than any other state. 37

20   Historically, a high percentage of these children have had viable claims for asylum, although that

21

22          32
                Nadwa Mossad and Ryan Baugh, Refugees and Asylees: 2016, DHS Off. of Immig.
     Statistics (Jan. 2018), https://tinyurl.com/Mossad-Baugh.
23           33
                DHS, Individuals Granted Asylum Affirmatively Or Defensively: Fiscal Years 1990 To
     2016 (Jan. 8, 2018), https://tinyurl.com/DHS-Asy-2016.
24           34
                Also, more cases are pending in immigration courts in California than in any other state.
     See Syracuse U. Transactional Records Access Clearinghouse (TRAC), Individuals in
25   Immigration Court by Their Address, https://tinyurl.com/TRAC-Syr.
             35
                Mossad, supra note 32.
26           36
                See Apprehension, Processing, Care, and Custody of Alien Minors and Unaccompanied
     Alien Children, 83 Fed. Reg. 45486, 45519 (proposed Sept. 7, 2018).
27           37
                Off. of Refugee Resettlement, Unaccompanied Alien Children Released to Sponsors by
     State (last updated Nov. 29, 2018), https://tinyurl.com/UAC-state.
28
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 1   percentage has dropped in the past two years. 38

 2          The States, their local jurisdictions, and non-governmental organizations based in the

 3   States, will be in the position of assisting the victims of the unnecessary trauma that defendants’

 4   policies cause, utilizing resources that will need to be diverted from other purposes. Among other

 5   services, the States’ public schools will need to educate students who have been traumatized and

 6   needlessly missed months or years of schooling while they wait at the border. And the States’

 7   public health care systems will have to address the increased health needs of immigrants who

 8   have not had access to preventative care, vaccinations, and necessary medical care as they waited

 9   at the border.

10          Further, the States have invested in specialized services to meet asylees’ needs. For

11   example, in California, the Immigration Branch of CDSS has various forms of assistance for

12   certain eligible asylees and refugees including programs that provide cash assistance and

13   employment services, as well as services for unaccompanied minors and victims of human

14   trafficking. 39 Program benefits and services are typically administered at the local level by county

15   social services departments, or through county contracts with local service providers to deliver

16   direct services, including services for older refugees, integration and language assistance for

17   refugee students, and assistance to unaccompanied minors. 40

18          Recognizing the importance of proper legal guidance during immigration proceedings,

19   California funds a number of non-profit legal service organizations, including plaintiffs EBSC, Al

20   Otro Lado and CARECEN-LA, to provide free or low-cost legal services for refugees. 41 See

21   Compl. ¶¶ 79, 88, 96, ECF 1. These providers use a combination of funds from CDSS and private

22          38
                Beth Fertig, Unaccompanied Minors Have Tougher Time Winning Asylum, WNYC
     (June 6, 2018), https://tinyurl.com/Fertig-WNYC.
23           39
                See CDSS, Services for Refugees, Asylees, and Trafficking Victims,
     https://www.cdss.ca.gov/Refugee-Services.
24           40
                Id.; see also SF-CAIRS (the SF Refugee Forum), Refugee & Asylee Benefits, http://sf-
     cairs.org/refugee-asylee-benefits; County of L.A., Dep’t of Soc. Services, Refugee Employment
25   Program, https://tinyurl.com/LA-refugee.
             41
                See Immigration Services Contractors, supra note 1. California’s public universities
26   also fund programs that provide legal assistance to refugees and migrants seeking asylum. See,
     e.g., U. of Cal.-Davis Sch. of L., Immigration Law Clinic, https://tinyurl.com/Davis-immig; U. of
27   Cal. Hastings Coll. of the L., Center for Gender and Refugee Studies, https://cgrs.uchastings.edu;
     U. of Cal., Irvine Sch. of L., Immigrants’ Rights Clinic, https://tinyurl.com/Irvine-immig.
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 1   donors to ensure these cases are filed properly and adjudicated fairly. 42 Such funding is based, in

 2   part, on the number of cases handled per year, and the number of clients legal providers anticipate

 3   serving. See id. ¶¶ 82, 90–91, 97. By categorically barring asylum for every individual who enters

 4   without inspection at the southern border, the Rule will seriously restrict access to legal counsel,

 5   frustrate these organizations’ missions and imperil their funding streams. See id. ¶¶ 80, 86, 89, 90,

 6   97. It will also cause them to divert considerable resources to re-strategizing their approaches to

 7   representation of clients and eligibility issues, revising their training, and re-allocating staff time.

 8   See id. ¶¶ 83–86, 89, 98–99. Harms to these organizations redound to their funders, including the

 9   States, whose priorities and funding decisions are impacted as well.

10           CDSS also funds qualified nonprofit organizations to provide other immigration-related

11   assistance to individuals who have been granted asylum and reside in California. These

12   organizations provide asylees crucial access to services such as mental health care, education, and

13   resettlement assistance. 43 For example, the International Rescue Committee for the City of Los

14   Angeles provides programs that assist recent refugees and asylum grantees with health care,

15   resettlement, economic opportunities, and community integration and development, and Opening

16   Doors in Sacramento offers a literacy program for refugee women, as well as resettlement

17   assistance and family trauma counseling. 44

18           The California Department of Public Health (CDPH), Office of Refugee Health works

19   with impacted local health agencies, providers, and resettlement agencies to provide assessments

20   and other health services to newly arrived refugees, asylees, victims of severe forms of human

21   trafficking, and other eligible entrants. 45 For example, the Highland Human Rights Clinic in

22   Oakland (operated by the Alameda County Health System) conducts approximately 80 to 120

23   health assessments of asylees in California annually. 46 According to the Clinic’s medical director,

24           42
                 Indeed, 97 percent of the almost 5,000 affirmative asylum petitions filed by plaintiff
     East Bay Sanctuary Covenant have been granted. See id. ¶ 80.
25            43
                 See, e.g., SF-CAIRS, Social Services and Mental Health, http://sf-cairs.org/mental-
     health/.
26            44
                 Int’l Rescue Comm., The IRC in Los Angeles, CA, https://tinyurl.com/IRC-refugee;
     Opening Doors, Refugee Programs, https://tinyurl.com/OD-refugee.
27            45
                 CDPH, Office of Refugee Health, https://tinyurl.com/CDPH-refugee.
              46
                 Anna Gorman, Medical Clinics that Treat Refugees Help Determine the Case for
28   Asylum, NPR (July 10, 2018), https://tinyurl.com/Gorman-NPR.
                                                        9
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 1   the vast majority of the patients he evaluates need mental health referrals, due to years of abuse

 2   and trauma. Id. These needs will only be increased by the additional trauma that migrants will

 3   endure while languishing in dangerous, unhealthy conditions at the border due to the Rule.

 4           All of these state-provided resources will be further impacted due to the increased harms

 5   that the Rule causes to individuals who are eventually able to present their asylum claims and

 6   enter the country. California specifically will have to meet this additional need at a time that the

 7   State is dealing with multiple challenges, including one of the most destructive wildfires in

 8   United States history.

 9         D.     A Preliminary Injunction is in the Public Interest Because the Rule
                  Violates the Law.
10

11           In addition to the serious harms the Rule will inflict on the States and our current and

12   future residents, the Rule is fatally flawed from a legal perspective. Plaintiffs have ably set forth a

13   number of ways in which the Rule violates the APA’s substantive and procedural requirements.

14   Mot. for Prelim. Inj. at 2–7 (PI Mot.), ECF 71. The Rule has additional legal infirmities that

15   further demonstrate that a preliminary injunction is in the public interest. See, e.g., Texas

16   Children’s Hosp. v. Burwell, 76 F. Supp. 3d 224, 246 (D.D.C. 2014) (“the Secretary’s compliance

17   with applicable law constitutes a . . . compelling public interest”) (quotation omitted); Michigan

18   Citizens for an Indep. Press v. Thornburgh, 1988 WL 90388, at *7 (D.D.C. 1988) (“The general

19   public has an interest in seeing that laws are administered reasonably, in accordance with law and

20   not arbitrarily”).

21                   1. The Rule Is Arbitrary and Capricious Under the APA.
22           The Rule is arbitrary and capricious in violation of the APA for several reasons. First,

23   defendants failed to address, or gave only passing attention to, a number of relevant factors.

24   Under the APA, federal agencies must consider “the advantages and the disadvantages of agency

25   decision” before taking action. Regents of Univ. of Cal. v. U.S. Dep’t of Homeland Sec., 279 F.

26   Supp. 3d 1011, 1046 (N.D. Cal. 2018) (Regents I) (quoting Michigan v. EPA, 135 S.Ct. 2699,

27   2707 (2015)). As the Supreme Court has held, “agency action is lawful only if it rests on a

28   consideration of the relevant factors,” and an agency may not “entirely fail to consider an
                                                       10
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 1   important aspect of the problem” when deciding whether regulation is appropriate. Michigan, 135

 2   S. Ct. at 2706–07 (quoting Motor Vehicle Mfrs. Assn. of U.S., Inc. v. State Farm Mut. Automobile

 3   Ins. Co., 463 U.S. 29, 43 (1983)) (brackets and quotation marks omitted). If an agency action is

 4   not “based on a consideration of the relevant factors,” that action is arbitrary and capricious under

 5   the APA. State Farm, 463 U.S. at 40–43 (citing 5 U.S.C. § 706(2)(A)).

 6          The discussion in the Rule is one-sided, focused on the “crisis” at the border and the

 7   Rule’s projected positive effects. While briefly discussing the Rule’s effect on 70,000 asylum

 8   applicants annually, 83 Fed. Reg. 55948, the Rule does not discuss the likely harm to would-be

 9   asylees, their families in the United States, and the States that this change could create. In fact,

10   there is nothing in Administrative Record that indicates defendants even considered these points.

11   And given the current situation at ports of entry discussed above, defendants’ repeated references

12   to how the Rule will allow “orderly processing” of asylum-seekers, see, e.g., 83 Fed. Reg. 55934,

13   -49, demonstrates how little consideration they gave to the foreseeable consequences of the Rule.

14          Second, defendants failed to adequately justify their actions in implementing the Rule.

15   The Rule contains voluminous discussion of the ostensible “crisis” at the southern border, 83 Fed.

16   Reg. 55934–36, 55944–49, focusing on the increasing number of asylum claims and credible fear

17   findings (an odd “problem” for defendants to highlight, as it actually supports the legitimacy of

18   many asylum-seekers’ claims); the large backlog of asylum cases; the allegedly large percentage

19   of asylum seekers who do not appear for their hearings; and the supposedly low ultimate rate of

20   asylum grants compared with applications. A number of these claims are questionable at best. As

21   plaintiffs point out, and as third-party analyses and documents in the Administrative Record

22   confirm, migration at the southern border is generally lower (despite a slight uptick in 2018), and

23   Border Patrol budget and staffing higher, than in recent years. See Compl. ¶¶ 71–76; see also AR

24   at 301, 347, 373, 447. 47 Defendants’ suggestion that many putative asylees fail to appear in court

25   is also contrary to the evidence; as plaintiffs state in the complaint, 89 percent of asylum seekers

26   appear at their hearings. Compl. ¶ 77. Further, asylum seekers who are assisted by counsel in

27
            47
               See also Christopher Ingraham, There’s No Immigration Crisis, and These Charts
28   Prove It, Wash. Post (June 21, 2018), https://tinyurl.com/Ingraham-WaPo.
                                                       11
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 1   navigating the complex process actually have a very high rate of asylum grants, as evidenced by

 2   plaintiff EBSC’s 97 percent rate of approvals. See Compl. ¶ 80. Moreover, the Administrative

 3   Record provides ample evidence of the reasons why North Triangle migrants are fleeing violence

 4   in their home countries (and may therefore have meritorious asylum claims). See AR at 156–63.

 5   Yet the Rule severely restricts their ability to seek asylum, and ignores the consequences to the

 6   individuals and families if they are unable to present legitimate claims and forced to return to

 7   their countries of origin. 48 Because they failed to conduct a “reasoned evaluation of the relevant

 8   factors,” Marsh v. Oregon Nat. Res. Council, 490 U.S. 360, 378 (1989) (quoting Citizens to

 9   Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971)) (quotation marks omitted), and

10   to draw a “rational connection between the facts found and the choice made,” Latino Issues

11   Forum v. U.S. EPA, 558 F.3d 936, 941 (9th Cir. 2009) (quoting Ariz. Cattle Growers’ Ass’n v.

12   U.S. Fish & Wildlife, 273 F.3d 1229, 1236 (9th Cir. 2001)) (quotation marks omitted),

13   defendants’ actions are arbitrary and capricious under the APA. 5 U.S.C. § 706(2)(A).

14          Finally, the Rule violates the APA because it is “not in accordance with law,” and

15   “contrary to constitutional right.” 5 U.S.C. § 706(2)(A)-(B). First, despite defendants’ claims that

16   the Rule is “not intended to deter legitimate asylum seekers from seeking protection,” 49 one of the

17   primary purposes of the Rule is in fact to deter people from asserting asylum claims. 50 This focus

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            48
                  See also AR at 331 (listing El Salvador, Honduras, and Guatemala as second, third, and
19   fourth, respectively, on list of countries whose nationals received asylum in FY2017).
               49
                  DHS, Myth vs. Fact: Asylum Proclamation and Rule (Nov. 9, 2018),
20   https://tinyurl.com/DHS-myth-fact.
               50
                  See 83 Fed. Reg. 55948 (discussing how Rule “could . . . affect the decision calculus”
21   of putative asylees), 55950 (discussing “urgent need to deter foreign nationals from undertaking
     dangerous border crossings” and desire to “[c]hannel[] [putative asylees from Northern Triangle
22   counties] to ports of entry [which] would encourage these aliens to first avail themselves of offers
     of asylum from Mexico,” presumably due to their discouragement at extensive wait times at ports
23   of entry). See also White House, Presidential Proclamation Addressing Mass Migration Through
     the Southern Border of the United States (Nov. 9, 2018), https://tinyurl.com/Pres-Proc
24   (“[v]irtually all members of family units . . . that are found to have a credible fear of persecution,
     are . . . released into the United States. Against this backdrop of near-assurance of release, the
25   number of such aliens traveling as family units who enter through the southern border and claim a
     credible fear of persecution has greatly increased. . . . Failing to take immediate action to stem the
26   mass migration the United States is currently experiencing and anticipating would only encourage
     additional mass unlawful migration”); see also EBSC, 2018 WL 6053140, at *19 (questioning
27   “[t]he executive’s interest in deterring asylum seekers—whether or not their claims are
     meritorious—on a basis that Congress did not authorize”).
28
                                                      12
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 1   on deterrence is consistent with the federal government’s stated goal of deterring migration

 2   through harsh policies. 51 Courts have held that similar policies treating asylum-seekers harshly in

 3   order to deter others from attempting to enter the United States to claim asylum are

 4   unconstitutional. See R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 188–90 (D.D.C. 2015) (granting

 5   preliminary injunction against policy of detaining asylum seekers to send “a message of

 6   deterrence to other Central American individuals who may be considering immigration”). 52

 7          Second, the Rule discriminates against individuals based on their race, ethnicity, and

 8   national origin in violation of the Equal Protection Clause of the Fifth Amendment. Courts have

 9   recognized similar infirmities relating to the federal government’s immigration policies that

10   primarily impact non-European, non-white migrants. See, e.g., Regents of Univ. of Cal. v. U.S.

11   Dep’t of Homeland Sec., 298 F. Supp. 3d 1304, 1315 (N.D. Cal. 2018) (denying motion to

12   dismiss Equal Protection claims, holding that allegations raised “a plausible inference that racial

13   animus towards Mexicans and Latinos was a motivating factor in the decision to end DACA”)

14   (Regents II), aff’d, 908 F.3d 476 (9th Cir. 2018) (Regents III); see also Ramos v. Nielsen, 2018

15   WL 4778285, at *16–21 (N.D. Cal. Oct. 3, 2018) (Ramos II); Centro Presente v. United States

16   Dep’t of Homeland Sec., 2018 WL 3543535, at *14–15 (D. Mass. July 23, 2018); Casa de

17   Maryland, Inc. v. Trump, 2018 WL 6192367, at *12 (D. Md. Nov. 28, 2018). The Rule bears

18   many of the hallmarks of these earlier actions, including weighing more heavily on some

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20          51
                 See White House, Framework on Immigration Reform & Border Security (Jan. 25,
     2018), https://tinyurl.com/WH-framework (providing that “[t]he Department of Homeland
21   Security must have tools to deter illegal immigration”; pledging to “[d]eter illegal entry” by
     ending “catch-and release and by closing legal loopholes that have eroded our ability to secure the
22   immigration system and protect public safety”); see also Scott Pelley, The Chaos Behind Donald
     Trump’s Policy of Family Separation at the Border, CBS (Nov. 26, 2018),
23   https://tinyurl.com/Pelley-CBS (discussing “family separation” campaign, which included policy
     to arrest and detain all adults who crossed the border between ports of entry, and reporting that
24   DHS memorandum “explains a reason for the policy—deterrence—as it ‘will have the greatest
     impact on current flows’ [of immigrants]”).
25            52
                 See also Ms. L. v. U.S. Immig. & Customs Enf’t, 302 F. Supp. 3d 1149, 1166–67 (S.D.
     Cal. 2018) (denying motion to dismiss substantive due process claim, holding that alleged
26   “government practice. . . to separate parents from their minor children in an effort to deter others
     from coming to the United States . . . is emblematic of the exercise of power without any
27   reasonable justification . . . . Such conduct . . . is brutal, offensive, and fails to comport with
     traditional notions of fair play and decency”).
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 1   racial/ethnic groups than others 53 and being promulgated in a manner that significantly departs

 2   from the normal decision-making process, a sign that the policy was enacted for illegitimate

 3   reasons. 54 In addition, President Trump has a history of statements and actions indicating racial

 4   animus towards non-white immigrants and Latinos, Latino asylum-seekers, and migrants from

 5   Central America. 55 The President strongly implied that members of a similar caravan earlier this

 6   year were rapists 56 and also claimed that the current caravan contains members of the MS-13

 7   gang and criminals, as well as “unknown Middle Easterners,” with no evidence. 57 The strong

 8   probability that the Rule (and Proclamation) were driven by animus in violation of the

 9   Constitution and the APA shows that the public interest favors a preliminary injunction.

10                  2. The Rule Was Improperly Promulgated Without Notice and
                       Comment.
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12          In addition to being arbitrary and capricious and contrary to substantive law, the Rule was

13   improperly promulgated without complying with the APA’s notice and comment and waiting

14   period requirements. “The notice and comment requirements are designed to ensure public

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16               Both the Rule and Southern Border Proclamation are applicable solely to entrance
     through the southern border and discuss asylum applicants from Central America on their face.
17   See, e.g., 83 Fed. Reg. 55935, -947, -950, -951; see Ramos II, 2018 WL 4778285, at *18 (“the
     impact of the TPS terminations clearly bears more heavily on non-white, non-European
18   individuals; indeed, it affects those populations exclusively”).
              54
                 See Dara Lind, Exclusive: Even Before the Caravan, Trump Took Steps to Use Travel
19   Bans to Limit Asylum, Vox (Nov. 6, 2018), https://tinyurl.com/Lind-vox (reporting that officials
     “hastily . . . scramble[d]” to develop Rule). Cf. OIG, DHS Implementation of Executive Order
20   #13769 “Protecting the Nation From Foreign Terrorist Entry Into the United States” (Jan. 18,
     2018), https://tinyurl.com/OIG-travel-ban (finding that DHS “was largely caught by surprise” by
21   the travel ban, and had “no opportunity to provide expert input in drafting” it); Regents III, 908
     F.3d at 519 (citing “unusual history behind the rescission” of DACA, which “suggests that the
22   normal care and consideration within the agency was bypassed”) (internal quotation marks
     omitted); Ramos II, 2018 WL 4778285, at *21 (N.D. Cal. Oct. 3, 2018) (noting “departures from
23   the normal procedural sequence during the TPS decision-making process” as evidence that
     animus drove decision); Pelley, supra note 6 (former DHS official stating that the family
24   separation order “was so abrupt it bypassed the usual review”).
              55
                 Ramos II, 2018 WL 4778285, at *17–18; Centro Presente, 2018 WL 3543535, at *4–5;
25   see also, e.g., Lisa Desjardins, How Trump Talks About Race, PBS News Hour (Aug. 22, 2017)
     (updated Aug. 23, 2018), https://tinyurl.com/Desjardins-PBS.
              56
26               Vivian Salama, Trump Claims Women ‘Are Raped at Levels Never Seen Before’ During
     Immigrant Caravan, NBC News (Apr. 5, 2018), https://tinyurl.com/Salama-NBC.
27            57
                 See Donald J. Trump (@realDonaldTrump), Twitter (Oct. 22, 2018, 5:37 AM),
     https://tinyurl.com/mid-easterners-tweet; Ted Hesson, Trump Has Whipped up a Frenzy on the
28   Migrant Caravan, Politico (Oct. 23, 2018), https://tinyurl.com/Hesson-Politico.
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 1   participation in rulemaking.” Paulsen v. Daniels, 413 F.3d 999, 1004 (9th Cir. 2005) (quoting

 2   Riverbend Farms, Inc. v. Madigan, 958 F.2d 1479, 1485 (9th Cir. 1992)) (ellipses and brackets

 3   omitted). Public participation ensures that “agency regulations are tested via exposure to diverse

 4   public comment”; that the process is “fair[] to affected parties”; and that affected parties have “an

 5   opportunity to develop evidence in the record to support their objections to the rule and thereby

 6   enhance the quality of judicial review.” Int’l Union, United Mine Workers of Am. v. Mine Safety

 7   & Health Admin., 407 F.3d 1250, 1259 (D.C. Cir. 2005). As this Court stated, “[t]hese purposes

 8   apply with particular force in important cases.” EBSC, 2018 WL 6053140, at *14. “It is

 9   antithetical to the structure and purpose of the APA for an agency to implement a rule first, then

10   seek comment later.” United States v. Valverde, 628 F.3d 1159, 1164 (9th Cir. 2010) (quoting

11   Paulsen, 413 F.3d at 1004); see EBSC, 2018 WL 6053140, at *14 (same, citing Valverde).

12          Defendants insist that this unilateral action is supported by “good cause,” and that giving

13   the States and the public an opportunity to comment on drastic changes to federal immigration

14   policy would be “impracticable” and “contrary to the public interest.” 83 Fed. Reg. 55950 (citing

15   5 U.S.C. § 553(b)(B)). They also purport to make the rule effective immediately, dispensing with

16   the 30-day waiting period required by 5 U.S.C. 553(d), arguing that “immediate implementation

17   of this rule is essential to avoid creating an incentive for aliens to seek to cross the border.” 83

18   Fed. Reg. 55950.

19          “The good cause exception is essentially an emergency procedure.” Valverde, 628 F.3d at

20   1165 (quoting Buschmann v. Schweiker, 676 F.2d 352, 357 (9th Cir. 1982)). Failing to follow

21   notice and comment procedures may be excused “only in those narrow circumstances” in which

22   taking the time to comply with the APA’s procedural requirements “would do real harm.” Id. at

23   1164–65. “[T]he good cause exception . . . authorizes departure from the APA’s requirements

24   only when compliance would interfere with the agency’s ability to carry out its mission.” Cal-

25   Almond, Inc. v. U.S. Dep’t of Agric., 14 F.3d 429, 441 (9th Cir. 1993) (quoting Riverbend Farms,

26   958 F.2d at 1485). It is to be “sparingly used in order to promote public input into agency

27   rulemaking,” Serv. Emps. Int’l Union, Local 102 v. County of San Diego, 60 F.3d 1346, 1353 (9th

28   Cir. 1994), lest it “carve the heart out of the statute,” Action on Smoking and Health v. Civil
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 1   Aeronautics Bd., 713 F.2d 795, 800 (D.C. Cir. 1983); see also EBSC, 2018 WL 6053140, at *17

 2   (“The good cause exception should be interpreted narrowly, so that the exception will not

 3   swallow the rule”) (quoting Buschmann v. Schweiker, 676 F.2d 352, 357 (9th Cir. 1982) (internal

 4   quotation marks and brackets omitted). The Rule was issued without notice, in the absence of any

 5   emergency such as an imminent threat of a terrorist attack, an accident or natural disaster that

 6   imperils human life, or even a fiscal emergency. See Pls. Mem. in Supp. of TRO 7–8, ECF No. 8-

 7   1. Thus, the government fails to overcome the “high bar” to the good cause exception. Valverde,

 8   628 F.3d at 1164.

 9          The federal government also invokes the “foreign affairs” exception to the APA’s

10   procedural requirements, 5 U.S.C. § 553(a)(1). 83 Fed. Reg. 55950. However, the Ninth Circuit

11   has rejected this exception’s application to the kind of regulation at issue here, holding that: “The

12   foreign affairs exception would become distended if applied to [DHS] actions generally, even

13   though immigration matters typically implicate foreign affairs. For the exception to apply, the

14   public rulemaking provisions should provoke definitely undesirable international consequences.”

15   Yassini v. Crosland, 618 F.2d 1356, 1360 n.4 (9th Cir. 1980) (internal citations omitted); see also

16   EBSC, 2018 WL 6053140, at *16 (citing Yassini, noting lack of “apparent logical connection

17   between dispensing with notice and comment and achieving a foreign affairs goal” here).

18   Although foreign relations are briefly discussed in the Rule, see 83 Fed. Reg. 55950–51, the

19   government’s focus is on the United States’ internal interests, not international relations. See also

20   PI Mot. at 5–6 (discussing lack of support in Rule and AR for foreign policy rationale).

21          Defendants’ failure to engage in pre-Rule notice and comment as required by the law

22   deprived the States of their right to participate in the rulemaking process. The opportunity to

23   comment on proposed federal regulations is vital to States’ interests in governmental

24   transparency. As sovereigns responsible for the health, safety, and welfare of millions of people

25   within their respective borders, the States have unique interests and perspectives to contribute on

26   issues of national importance and widespread impact, particularly when such policies will cause

27   prospective residents of our States unnecessary, substantial, and enduring harm. If the States had

28   been provided with an opportunity to comment on the Rule before it was promulgated, they
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 1   would have raised the myriad harmful impacts and illegal aspects of the Rule discussed above

 2   before it took effect. 58 The agencies would have been required to consider those comments in

 3   crafting the final regulation, see 5 U.S.C. § 553(c), and may have made changes to the proposed

 4   rule in response, as agencies often do. The record developed through the notice and comment

 5   process in turn would have aided the Court in its review of the action. See United Mine Workers,

 6   407 F.3d at 1259; see also EBSC, 2018 WL 6053140, at *19 (noting irreparable harm from

 7   deprivation of ability to offer “advance input” on Rule) (quoting California v. Health & Human

 8   Servs., 281 F. Supp. 3d 806, 830 (N.D. Cal. 2017)) (internal quotation marks omitted).

 9                                            CONCLUSION
10          For the reasons set forth above, the States support plaintiffs’ motion for a preliminary

11   injunction against the Rule to maintain the status quo during the pendency of this action.

12   Dated: December 5, 2018                              Respectfully submitted,
13                                                        XAVIER BECERRA
                                                          Attorney General of California
14                                                        MICHAEL L. NEWMAN
                                                          Senior Assistant Attorney General
15                                                        CHRISTINE CHUANG
                                                          Supervising Deputy Attorney General
16
                                                          s/ James F. Zahradka II
17                                                        JAMES F. ZAHRADKA II
                                                          VILMA PALMA-SOLANA
18                                                        SHUBHRA SHIVPURI
                                                          Deputy Attorneys General
19                                                        Attorneys for the State of California

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               For example, California has submitted 59 comment letters on anticipated or proposed
27   actions by the federal government to delay, repeal or adopt federal regulations since February
     2017. Washington State has offered more than 45 since March 2016, Massachusetts has submitted
28   dozens, and New York has sent 45.
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 1   ROBERT W. FERGUSON                              MAURA HEALEY
     Attorney General                                Attorney General
 2   State of Washington                             Commonwealth of Massachusetts
     P.O. Box 40100                                  One Ashburton Place
 3   Olympia, WA 98504                               Boston, MA 02108

 4   BARBARA D. UNDERWOOD                            GEORGE JEPSEN
     Attorney General                                Attorney General
 5   State of New York                               State of Connecticut
     28 Liberty Street                               55 Elm Street
 6   New York, NY 10005                              Hartford, CT 06106

 7   KARL A. RACINE                                  RUSSELL A. SUZUKI
     Attorney General                                Attorney General
 8   District of Columbia                            State of Hawaii
     441 4th Street, N.W.                            425 Queen Street
 9   Washington, D.C. 20001                          Honolulu, HI 96813

10   LISA MADIGAN                                    BRIAN E. FROSH
     Attorney General                                Attorney General
11   State of Illinois                               State of Maryland
     100 W. Randolph St, 12th Fl.                    200 St. Paul Place
12   Chicago, IL 60601                               Baltimore, MD 21202

13   LORI SWANSON                                    GURBIR S. GREWAL
     Attorney General                                Attorney General
14   State of Minnesota                              State of New Jersey
     75 Rev. Dr. Martin Luther King Jr. Blvd.        25 Market Street, Box 080
15   St. Paul, MN 55155                              Trenton, NJ 08625

16   ELLEN F. ROSENBLUM                              THOMAS J. DONOVAN, JR.
     Attorney General                                Attorney General
17   State of Oregon                                 State of Vermont
     1162 Court Street NE                            109 State Street
18   Salem, OR 97301                                 Montpelier, VT 05609

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